        Case 4:10-cr-00073-BLW Document 377 Filed 06/17/13 Page 1 of 2




                          UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                 Case No. 1:10-cr-00073-BLW
                       Plaintiff,
                                                 ORDER
        v.

 JULIO JIMENEZ-MORALES,

                       Defendant.


      The Court has before it what appears to be a pro se request for an estimate of what

it would cost the defendant to request certain documents. The Court responds with the

following estimates:

      1.     Docket Sheet = .50 per page for total of approximately $10.00;

      2.     Indictment = .50 per page for total of $6.00;

      3.     Plea Agreement = .50 per page for a total of $8.00;

      4.     Judgment = .50 per page for total of $3.00;

      5.     PSR = Generally no cost;

      6.     Plea Hearing Transcript = Approximately $70.00;

      7.     Sentencing Hearing Transcript = Approximately $80.30. This request must



ORDER - 1
        Case 4:10-cr-00073-BLW Document 377 Filed 06/17/13 Page 2 of 2




              be made directly to the Court Reporter at the following address:

              Tamara I. Hohenleitner
              Official Court Reporter to Honorable B. Lynn Winmill
              US Courts - District of Idaho
              550 W Fort Street
              Boise, ID 83724

       The Court notes that the defendant may be able to petition the Court for in forma

pauperis status if he qualifies, which may allow the Court to provide these documents to

him without cost. The Court is not stating that the defendant does qualify; it is only

stating that he may want to consider whether to file a petition. Alternatively, the

defendant may be able to contact his former attorney who represented him during earlier

proceedings in this case, and the attorney may be able to provide him with these

documents without cost or at a lower cost. Again, the Court is not saying this is possible,

but rather listing it as a possible avenue the defendant may want to pursue.

       The Court believes this Order responds to the defendant’s current request. If the

defendant wishes to actually request these documents or make any other requests, he must

file a formal motion, which the Court will consider.

IT IS SO ORDERED.

                                           DATED: June 17, 2013



                                           B. LYNN WINMILL
                                           Chief U.S. District Court Judge




ORDER - 2
